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JAN 16 2019

 

IN THE UNITED STATES DISTRICT COURT ark co. Moc
FOR THE NORTHERN DISTRICT OF OKLAHOMAS. DISTRICT GoUds

19 CR 009 GKF

UNITED STATES OF AMERICA, Case No.

 

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)
Plaintiff, ) INDICTMENT
) [COUNT 1: 18 U.S.C. §1832(a)(1)
v. yo. Theft of Trade Secrets;
) COUNT 2: 18 U.S.C. § 1832(a)(2)
HONGJIN TAN, - Unauthorized Transmission of
) Trade Secrets;
) COUNT 3: 18 U.S.C. § 1832(a)(3) -
) Unauthorized Possession of Trade
) Secrets;
) Forfeiture Allegation: 18 U.S.C.
)

§ 2323 — Trade Secret Forfeiture]

Defendant.

THE GRAND JURY CHARGES:

COUNT ONE
[18 U.S.C. § 1832(a)(1)]

From on or about September 1, 2018, through on or about December 13, 2018, in
the Northern District of Oklahoma, the defendant, HONGJIN TAN, with the intent to
convert trade secrets, specifically, information pertaining to methods for developing a
particular Research and Development Downstream Energy Market Product known to the
Grand Jury, that are related to products and services used in and intended for use in
interstate and foreign commerce, to the economic benefit of persons other than the trade
secrets’ owner, a company known to the Grand Jury, and knowing and intending that the
offense will injure any owner of those trade secrets, knowingly did steal and without
authorization appropriate, take, carry away, and conceal such information, in violation of

Title 18, United States Code, Section 1832(a)(1).
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COUNT TWO
[18 U.S.C. § 1832(a)(2)]

From on or about September 1, 2018, through on or about December 13, 2018, in
the Northern District of Oklahoma and elsewhere, the defendant, HONGJIN TAN, with
the intent to convert trade secrets, specifically, information pertaining to methods for
developing a particular Research and Development Downstream Energy Market Product
known to the Grand Jury, that are related to products and services used in and intended for
use in interstate and foreign commerce, to the economic benefit of persons other than the
trade secrets’ owner, a company known to the Grand Jury, and knowing and intending that
the offense will injure any owner of those trade secrets, knowingly did without
authorization copy, duplicate, sketch, draw, photograph, download, upload, alter,
photocopy, replicate, transmit, deliver, send, mail, communicate, and convey such

information, in violation of Title 18, United States Code, Section 1832(a)(2).
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COUNT THREE
[18 U.S.C. § 1832(a)(3)]

From on or about September 1, 2018, through on or about December 13, 2018, in
the Northern District of Oklahoma and elsewhere, the defendant, HONGJIN TAN, with
the intent to convert trade secrets, specifically, information pertaining to methods for
developing a particular Research and Development Downstream Energy Market Product
known to the Grand Jury, that are related to products and services used in and intended for
use in interstate and foreign commerce, to the economic benefit of persons other than the
trade secrets’ owner, a company known to the Grand Jury, and knowing and intending that
the offense will injure any owner of those trade secrets, knowingly did receive and possess
such information, knowing the same to have been stolen and appropriated, obtained, and
converted without authorization, in violation of Title 18, United States Code, Section

1832(a)(3).
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FORFEITURE ALLEGATION
[18 U.S.C. § 2323]

The allegations contained in this Indictment are hereby realleged and incorporated
by reference for the purpose of alleging forfeiture pursuant to Title 18, United States Code,
Section 2323.

Upon conviction of any of the trade secret offenses alleged in Indictment, as part of
his sentence, the defendant, HONGJIN TAN, shall forfeit to the United States any
property used, or intended to be used, in any manner or part to commit or facilitate the
commission of the offenses, and any property constituting or derived from any proceeds
obtained directly or indirectly as a result of the commission of the offenses, including, but
not limited to:

MONEY JUDGMENT

A money judgment in an amount representing proceeds obtained by
Defendant TAN, as a result of the trade secret offenses.

Pursuant to Title 21, United States Code, Section 853(p), the defendant shall forfeit
substitute property, up to the value of the property described above if, by any act or
omission of the defendant, the property described above, or any portion thereof, cannot be
located upon the exercise of due diligence; has been transferred or sold to, or deposited
with, a third party; has been placed beyond the jurisdiction of the court; has been
substantially diminished in value; or has been commingled with other property which

cannot be divided without difficulty.
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All pursuant to Title 18, United States Code, Section 2323.

R. TRENT SHORES
UNITED STATES ATTORNEY

      
 

OEL- A. MtCORMICK
Assistant United States Attorney

A TRUE BILL

/s/ Grand Jury Foreperson
Grand Jury Foreperson
